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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF IDAHO

  JESSICA ALBERTSON,

            Plaintiff,                               Case No. 4:21-CV-00012-BLW

  vs.                                                ORDER GRANTING THE
                                                     STIPULATED MOTION FOR
  COSTCO WHOLESALE                                   DISMISSAL WITH PREJUDICE
  CORPORATION, a Washington
  Corporation,

            Defendant.




              The Parties’ Stipulated Motion for Dismissal with prejudice IS HEREBY

GRANTED, and the matter is dismissed with prejudice and with no right of appeal, and

each side to bear its own attorney fees and costs.




                                               DATED: April 14, 2021


                                               _________________________
                                               B. Lynn Winmill
                                               U.S. District Court Judge




ORDER GRANTING THE STIPULATED MOTION FOR DISMISSAL WITH PREJUDICE
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